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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                       *   MDL NO. 2179
   “Deepwater Horizon” in the                         *
   Gulf of Mexico, on April 20, 2010                  *   SECTION: J
                                                      *
                                                      *
This document relates to all actions.                 *   HONORABLE CARL J. BARBIER
                                                      *
                                                      *   MAGISTRATE JUDGE SHUSHAN
                                                      *
                                                      *

                                    [PROPOSED] ORDER

               Upon consideration of BP’s Motion To Order Production Of Certain Documents

By Special Master Freeh And To Set Schedule, and for the reasons stated in BP’s Motion, it is

HEREBY ORDERED that:

               1.     The Motion To Order Production Of Certain Documents By Special

Master Freeh And To Set Schedule is GRANTED.

               2.     Special Master Freeh shall produce the documents requested by BP in its

letter, Rec. Doc. 12193-1, by ___________________, and provide notice to the Court and BP of

such production.

               3.     BP shall file its response to Special Master Freeh’s January 17, 2014

Report, Rec. Doc. 12174, if any, _____________ days after Special Master Freeh provides

notice to the Court of its production of documents.

       IT IS SO ORDERED.

       New Orleans, Louisiana, this ____ day of _____________, 2014.




                                                          United States District Judge
